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                               BEFORE THE UNITED STATES
                                  JUDICIAL PANEL ON
                               MULTIDISTRICT LITIGATION

IN RE: ROUNDUP                                    §          MDL NO. 2741
PRODUCTS LIABILITY                                §
LITIGATION                                        §

   BRIEF IN SUPPORT OF MOTION TO TRANSFER GILMORE V. MONSANTO TO
                  MDL 2741 PURSUANT TO 28 USC § 1407

   I.       BACKGROUND

         On July 15, 2021, plaintiff Brian Webb filed a notice of potential tag-along action in MDL

2741, In re Roundup Products Liability Litigation, notifying the Panel of the potential inclusion

of the putative class action Gilmore v. Monsanto Co., No. 1:20-cv-01085-MN currently pending

in the United States District Court for the District of Delaware (the “Delaware District Court”).

Dkt. # 2381, 2381-1. On July 19, 2021, the Clerk for the Panel notified the parties that Gilmore

was not appropriate for inclusion in MDL 2741 pursuant to Judicial Panel on Multidistrict

Litigation (“JPML”) Rule of Procedure 7.1(b)(1). Dkt. # 2384. As a result, in accordance with

JPML Rule 7.1(b)(1), involved party Mr. Webb now brings the present motion to transfer the

Gilmore putative class action to MDL 2741 pursuant to Rule 6.1.

   II.      TRANSFER IS APPROPRIATE

         Transfer of the Gilmore action to MDL 2741 (the “Roundup MDL”) under section 1407 is

warranted for three separate but interconnected reasons. First, the proposed class settlement in

Gilmore would operate to bind almost all plaintiffs in the MDL, and would release a significant

portion of their claims. Second, because Gilmore and the Roundup MDL are premised on the same

common core of operative fact, namely the toxicity of Roundup, its potential to cause non-

Hodgkin’s lymphoma in users of the herbicide, and the failure to disclose those facts, transfer is




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warranted under the Panel’s section 1407 jurisprudence.         Finally, because Gilmore is not

procedurally advanced, transfer would not prejudice any of the parties to that action.

       Title 28 U.S.C. § 1407(a) authorizes the Panel to transfer actions for consolidated pretrial

proceedings when consolidation will be “for the convenience of parties and witnesses and will

promote the just and efficient conduct of such actions.” When the Panel considers whether to

transfer an action to an MDL, “[t]he critical issue under Section 1407 is whether [the to-be-

included action] shares common questions of fact with the actions in the MDL.” In re Aqueous

Film-Forming Prods. Liab. Litig., MDL No. 2873, 2021 WL 755083 at *3 (J.P.M.L. Feb. 4, 2021).

Because the Gilmore action involves the same factual questions as those involved in the Roundup

MDL, and the proposed class settlement will expressly affect all parties in the Roundup MDL, Mr.

Webb respectfully requests that the Panel transfer the Gilmore action to the MDL.

           A. The Proposed Combined Request for Class Certification and Class Settlement
              in Gilmore Will Directly Impact the Plaintiffs and Claims in the Roundup MDL

       It is important to note at the outset the impact the Gilmore action will have on all cases

currently pending in the Roundup MDL, and thus why decisions on class certification and

preliminary-settlement approval should be made by the MDL judge, rather than the currently

assigned district judge who has not had experience with these issues. As more thoroughly

discussed below, Gilmore is a proposed-class-action consumer-fraud case against Monsanto

regarding its deceptive marketing and labeling of Roundup, Ex. 3 at ¶ 6, which are evidentiary

facts in all Roundup cases pending in the MDL. The Gilmore complaint even specifically

references the ongoing Roundup MDL as a basis for its claims. Id. at ¶ 5 n.1.

       Except for those who follow the explicit opt-out procedures, the Gilmore settlement

proposes to bind “all Persons in the United States who, during the Class Period, purchased

[Roundup] Products . . . in the United States other than for resale or distribution.” Ex. 4 at


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¶ (A)(51). This would necessarily implicate all plaintiffs in the Roundup MDL, provided they

meet the state-law timing requirements as defined in Exhibit B to the Gilmore proposed settlement

agreement.

       In addition to binding all purchasers of Roundup in the U.S., the proposed Gilmore

settlement also operates to release a significant portion of the claims pending within thousands of

cases that have already been transferred to the MDL court. The proposed settlement purports to

release all claims against Monsanto for:

       any allegedly false, misleading, incomplete, or inaccurate statement, or any alleged
       omission, regarding the alleged carcinogenicity, toxicity, genotoxicity, endocrine
       disruptive effects, or any other alleged health effects of the Products or any
       ingredient or component thereof, including, but not limited to, glyphosate . . . or
       any scientific claims or debate regarding the same.

Id. at ¶ (L)(1)(a). The proposed settlement also releases all claims for:

       any alleged breach of contract or breach of warranty arising out of or related to the
       alleged carcinogenicity, toxicity, genotoxicity, endocrine disruptive effects, or any
       other alleged health effects of the Products or any ingredient or component thereof,
       including, but not limited to, glyphosate, or any scientific claims or debate
       regarding the same.

Id. ¶ (L)(1)(b). This release expressly includes claims made within cases long pending before the

MDL court. 1

       Finally, the proposed settlement broadly releases “any other alleged economic loss or

injury (but not personal injury) allegedly suffered by or inflicted on any Class Member because of



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  The proposed settlement agreement provides that “[t]o the extent that any action or proceeding
includes both Personal Injury Claims and Claims that would otherwise be released by this
Agreement, the Personal Injury Claims will not be deemed released, but the other Claims will be
released.
Similarly, to the extent that any Class Member asserts a cause of action or other Claim that would
otherwise fall within the scope of this release, but asserts the right to recover both damages caused
by personal injury and some other type of damages or relief (for example, but not limited to,
economic or statutory damages), that cause of action or Claim will survive this release only to the
extent of damages caused by personal injury.” Ex. 4 ¶ (L)(1).


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or related to the alleged carcinogenicity, toxicity, genotoxicity, endocrine disruptive effects, or any

other alleged health effects of the Products or any ingredient or component thereof.”               Id.

¶ (L)(1)(c). Depending on the jurisdiction in which a particular plaintiff’s claim arises, this

incredibly broad language has the potential to release numerous non-personal-injury claims that

are central to the MDL, such as medical costs and other economic losses. Because the proposed

Gilmore settlement will affect all plaintiffs in the Roundup MDL, and operates to release a

significant portion of their claims, the Panel should transfer Gilmore to the MDL.

        In addition to the potential release of claims by almost all MDL plaintiffs, Judge Chhabria,

presiding over the MDL, recently denied a broader attempt by Monsanto to certify a class in order

to unilaterally resolve all of the present—and future—claims pending against it (which would have

subsumed the class claims in Gilmore), because the proposed settlement did not adequately address

either the litigation risk or future settlement value of the proposed class members. Dkt. # 87 in

case 3:19-cv-02224-VC. In fact, although the proposed Gilmore class settlement was filed in

Delaware District Court just 20 days after MDL Judge Chhabria’s denial of a proposed class

settlement in the MDL, it tellingly never even mentions the extensive preliminary approval and

class certification proceedings in the MDL. Id.; Dkt. # 26-1 in case 1:20-CV-01085-MN.

       In its review of the proposed class settlement, the MDL Court evaluated many of the same

issues raised in the Gilmore litigation, including the adequacy of the class notice, adequacy of the

relief proposed, and the ascertainability of class members, amongst other certification-related

issues. Having already addressed the pitfalls of a potential class-action settlement involving

Roundup plaintiffs, the MDL judge, already steeped in discovery, is in a superior position to the

Delaware district judge to address the merits of the proposed Gilmore settlement and its potential

to impact all Roundup plaintiffs, and especially the claims of plaintiffs already before the MDL




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judge. Accordingly, the Panel should transfer Gilmore to the MDL to avoid inconsistent resolution

of these crucial global issues.

           B. Gilmore Arises from the Same Factual Issues as the Roundup MDL Litigation

       The Panel first created the Roundup MDL because “[r]egardless of the particular

formulation of Roundup at issue (all of which employ glyphosate as the active ingredient), or the

nature of plaintiff’s exposure to glyphosate, all the actions entail an overarching query—whether

glyphosate causes non-Hodgkin’s lymphoma in persons exposed to it while using Roundup.” Dkt.

# 57 at p. 1-2. Furthermore, “Plaintiffs also allege that the use of glyphosate in conjunction with

other ingredients, in particular the surfactant polyethoxylated tallow amine (POEA), renders

Roundup even more toxic than glyphosate on its own.” Id. at 2.

       The Panel went on to note that centralization was appropriate because “[t]hese actions share

common factual questions arising out of allegations that Monsanto’s Roundup herbicide,

particularly its active ingredient, glyphosate, causes non-Hodgkin’s lymphoma.” Id. Finally, the

Panel based its decision to consolidate the Roundup cases into an MDL on the determination that

“[i]ssues concerning general causation, the background science, and regulatory history will be

common to all actions.” Id.

       Because these same factual enquires underpin the Gilmore action, transfer is necessary to

avoid duplicative pretrial proceedings and to promote judicial efficiency and economy. According

to the very first paragraph of Gilmore’s complaint, “[t]his case arises from Monsanto’s wrongful

conduct in connection with its manufacture, promotion, marketing, advertising, distribution,

labeling, and sale of the Lawn and Garden herbicide Roundup®, which contains the active

ingredient glyphosate and other chemicals, including the surfactant polyethoxylated tallow amine




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(“POEA”).” Ex. 3 at ¶ 1. Thus, the central factual issue presented in Gilmore is identical to that

presented by the Roundup MDL.

        The Gilmore complaint goes on to recite that “[a]t all relevant times, Monsanto was and is

aware Roundup® has the potential to cause users to develop cancer. Monsanto is aware glyphosate

is a Class 2A herbicide, meaning the World Health Organization’s (“WHO”) International Agency

for Research on Cancer (“IARC”) has determined it is probably carcinogenic to humans.” Id. at

¶ 2. Finally, the Gilmore complaint notes that “Monsanto is also aware California has classified

glyphosate as a chemical known to cause cancer, such as Non-Hodgkin’s lymphoma (“NHL”).”

Id. at ¶ 3.

        While the Gilmore action is premised upon statutory violations of the Delaware Consumer

Fraud Act rather than personal injury, this distinction does not undermine the appropriateness of

transfer to the Roundup MDL. Indeed, the settlement put before the Delaware District Court is a

national global settlement. Moreover, as previously stated by the Panel, “Section 1407 does not

require a complete identity or even majority of common factual issues as a prerequisite to transfer.”

In re Ins. Brokerage Antitrust Litig., 360 F.Supp.2d 1371, 1272 (J.P.M.L. 2005). Nevertheless,

because the factual discovery underpinning Gilmore and the Roundup MDL is the same, transfer

is appropriate. See In re Aqueous Film-Forming Prods. Liab. Litig., MDL No. 2873, 2021 WL

755083 at *3 (“The critical issue under Section 1407 is whether [the to-be-included action] shares

common questions of fact with the actions in the MDL.”).

        The following allegations are central to Gilmore’s consumer fraud action, which are

premised on the same factual questions as those presented in the Roundup MDL. “Specifically,

Defendant failed to disclose—on the Roundup label, on its webpages, on in-store advertisements,

and through other means of disclosure—Roundup’s potential to cause cancer including, at the very




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least, the existence of an ongoing scientific debate as to whether exposure to Roundup can cause

NHL in humans.” Ex. 3 at ¶ 132. “Plaintiff did not know exposure to Roundup has the potential

to cause cancer at the time he purchased it. Plaintiff would not have purchased Roundup had he

known it had the potential to cause cancer, or that there has been an ongoing scientific debate as

to whether exposure to Roundup can cause NHL in humans.” Id. at ¶ 136.

       Thus, both Gilmore and the Roundup MDL turn on the same factual issues of whether

Roundup has the potential to cause non-Hodgkin’s lymphoma, and whether Monsanto was aware

of this fact but nevertheless continued to sell Roundup without an adequate warning. In order to

promote judicial efficiency and avoid duplicative and potentially inconsistent proceedings, the

Panel respectfully should transfer Gilmore to MDL 2741 for centralized pretrial proceedings.

       Finally, the Panel has recently approved the transfer of putative class actions where they

share common factual questions with previously consolidated individual proceedings. See, e.g.,

Transfer Order at 2, In re Aqueous Film-Forming Foams Prods. Liab. Litig. MDL No. 2873

(J.P.M.L. June 7, 2021) ECF No. 1020 (denying the plaintiffs’ motion to vacate CTO of class-

action medical-monitoring claim because it was premised on the same underlying factual questions

as the larger Aqueous Film-Forming Foams litigation). Here, where the putative class action has

the potential to affect nearly all cases currently in the Roundup MDL for the reasons set forth

above, transfer of the Gilmore putative class action is especially warranted.

           C. Gilmore is Not Procedurally Advanced

       A review of the Gilmore docket shows that, except for the currently pending motion for

class certification and preliminary settlement approval, nothing significant has occurred in the

Delaware District Court. The Delaware District Court has not ruled on any motion, as both

motions to dismiss were mooted by the filing of stipulated amended complaints. The Delaware




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District Court has not entered any discovery orders. Nor has it entered any confidentiality orders

or ESI protocols. Accordingly, no formal discovery has taken place. Finally, the Delaware District

Court has not entered a single case-management order. Thus, despite the filing of the class

certification and preliminary settlement approval motion, nothing has actually happened in the

Delaware District Court to advance the Gilmore litigation.

           Further, unlike MDL Judge Chhabria, who has spent years overseeing the Roundup MDL

litigation, and has even presided over a bellwether trial, the Delaware District Court has no

familiarity with the Roundup litigation at all. This lack of intimate experience with the nuances of

the underlying MDL cases is crucial, because if Gilmore is not transferred, the Delaware District

Court will have to make numerous decisions related to class certification and settlement approval.

These would include the adequacy of the notice, the fairness of the settlement, the nuances of the

release language and its impact on thousands of cases that have been part of the MDL, and other

issues, despite the Delaware District Court lacking any underlying familiarity with the complex

procedural, scientific, and liability issues which Judge Chhabria has spent years immersed in.

Therefore, transfer of Gilmore to the MDL will result in a global approach to these interconnected

issues not possible in the Delaware District Court.

    III.      CONCLUSION

           Both the Gilmore action and the Roundup MDL are premised on the same factual enquiry:

whether Roundup has the potential to cause NHL. The Gilmore action proposes to bind all

purchasers of Roundup in the U.S. now and in the future, 2 and, if the settlement were approved,

would release all claims sounding in fraud, breach of contract, or otherwise related to non-personal



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  As stated in the proposed settlement agreement: “For further avoidance of doubt, this release
shall apply to Claims arising from, resulting from, or in any way relating to or in connection with
a Class Member’s purchase or use of the Products in the past, present, or future.” Ex. 4 ¶ (L)(1).


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injuries stemming from Roundup’s toxicity, which would necessarily impact the claims of

individual plaintiffs already long pending before Judge Chhabria. It would do this despite the fact

that the certification and preliminary approval motion is the first substantive motion placed before

the Delaware District Court, where the case is in its infancy. Transfer is therefore necessary to

promote judicial efficiency and to avoid the inconsistent results that would ensue if a Delaware

district judge were to decide matters affecting all plaintiffs in the MDL. Accordingly, the Panel

respectfully should transfer the Gilmore action to MDL 2741.



                                              Respectfully Submitted,

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